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                               UNITED STATES BANKRUPTCY COURT
                                                       DISTRICT OF MARYLAND
                                                        NORTHERN DIVISION

In re: ALEJANDRO M. QUINTO                                                                              Case No.: 11-26637-RAG

                Debtor(s)

                    CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
Robert S. Thomas, II, chapter 13 trustee, submits the following Final Report and Account of the administration of the estate pursuant to 11
U.S.C. Section 1302(b)(1). The trustee declares as follows:

1) The case was filed on 08/14/2011.
2) The plan was confirmed on 08/02/2012.
3) The plan was modified by order after confirmation pursuant to 11 U.S.C Section 1329 on NA.
4) The trustee filed action to remedy default by the debtor in performance under the plan on NA.
5) The case was completed on 09/09/2016.
6) Number of months from filing or conversion to last payment: 61.
7) Number of months case was pending: 68.
8) Total value of assets abandoned by court order: NA.
9) Total value of assets exempted: 16,386.00.
10) Amount of unsecured claims discharged without full payment: 202,338.88.
11) All checks distributed by the trustee relating to this case have cleared the bank.

 Receipts:
       Total paid by or on behalf of the debtor:           $50,622.00
       Less amount refunded to debtor:                        $918.00
 NET RECEIPTS:                                                                  $49,704.00

 Expenses of Administration:
       Attorney's Fees Paid Through The Plan:                                  $2,500.00
       Court Costs:                                                                  $.00
       Trustee Expenses and Compensation:                                      $3,324.82
       Other:                                                                        $.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                 $5,824.82

 Attorney fees paid and disclosed by debtor:              $2,000.00




 Scheduled Creditors:
Creditor                                                      Claim             Claim              Claim         Principal           Interest
Name                                        Class             Scheduled         Asserted           Allowed       Paid                Paid
AMERICAN EXPRESS                            Unsecured           12,883.55       12,883.55       12,883.55           395.05                  .00
BANK OF AMERICA                             Unsecured           62,000.00       53,719.66       53,719.66         1,647.22                  .00
BANK OF AMERICA                             Unsecured              322.10              NA              NA               .00                 .00
COMPTROLLER OF THE TREASURY                 Unsecured                   NA      20,198.00       20,198.00           619.33                  .00
DISCOVER BANK                               Unsecured           18,283.29       18,283.29       18,283.29           560.62                  .00
ECAST SETTLEMENT CORPORATION                Unsecured           26,399.61       26,399.61       26,399.61           809.50                  .00
ELLEN W. COSBY, TRUSTEE                     Admin                       NA             .00             .00              .00                 .00
FIA CARD SERVICES INC                       Unsecured           22,626.32       22,626.32       22,626.32           693.80                  .00
INTERNAL REVENUE SERVICE                    Secured             14,515.86       14,622.98       14,622.98       14,622.98            1,676.27
MIRIAM HERNANDEZ                            Priority             2,000.00              NA              NA               .00                 .00
NORTHERN LEASING SYSTEMS                    Unsecured              192.20              NA              NA               .00                 .00
OCWEN LOAN SERVICING LLC                    Secured             13,829.00       15,546.82       15,546.82       13,557.91                   .00
PORTFOLIO RECOVERY ASSOCIATES               Unsecured           28,448.47       28,448.47       28,448.47           872.32                  .00
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                                  UNITED STATES BANKRUPTCY COURT
                                                       DISTRICT OF MARYLAND
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In re: ALEJANDRO M. QUINTO                                                                               Case No.: 11-26637-RAG

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                     CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
 Scheduled Creditors:
Creditor                                                       Claim               Claim           Claim         Principal           Interest
Name                                        Class              Scheduled           Asserted        Allowed       Paid                Paid
PRA RECEIVABLES/PORTFOLIO RECOVERY
                                Unsecured                        23,084.50         23,084.50     23,084.50          707.83                  .00
SNAP-ON TOOLS COMPANY LLC                   Secured               7,800.00          7,814.33       6,214.33       6,214.33           1,474.06
SPRINT NEXTEL                               Unsecured               422.77           427.01          427.01          13.24                  .00
STATE OF MARYLAND CCU                       Secured              18,443.50               NA             NA              .00                 .00
STATE OF MARYLAND CCU                       Unsecured                  NA            475.11          475.11          14.72                  .00
TRYE & ASSOCIATES                           Unsecured             1,612.69               NA             NA              .00                 .00

 Summary of Disbursements to Creditors:                                                            Claim         Principal           Interest
                                                                                                   Allowed       Paid                Paid
 Secured Payments:
     Mortgage Ongoing:                                                                                 .00             .00                .00
     Mortgage Arrearage:                                                                         15,546.82       13,557.91                .00
     Debt Secured by Vehicle:                                                                          .00             .00                .00
     All Other Secured:                                                                          20,837.31       20,837.31           3,150.33
 TOTAL SECURED:                                                                                  36,384.13       34,395.22           3,150.33

 Priority Unsecured Payments:
     Domestic Support Arrearage:                                                                        .00             .00                 .00
     Domestic Support Ongoing:                                                                          .00             .00                 .00
     All Other Priority:                                                                                .00             .00                 .00
 TOTAL PRIORITY:                                                                                        .00             .00                 .00

 GENERAL UNSECURED PAYMENTS:                                                                    206,545.52        6,333.63                  .00

 Disbursements:
        Expenses of Administration:                                                              $5,824.82
        Disbursements to Creditors:                                                             $43,879.18
 TOTAL DISBURSEMENTS:                                                                                                             $49,704.00

     12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the estate has been fully administered, the
     foregoing summary is true and complete, and all administrative matters for which the trustee is responsible have been completed.
     The trustee requests a final decree be entered that discharges the trustee and grants such other relief as may be just and proper.


                  Date:      04/13/2017                                      By:   /s/Robert S. Thomas, II
                                                                                   Trustee
           STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
           exemption 5 C.F.R. Section 1320.4(a)(2) applies.




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